      Case 5:18-cr-00258-EJD Document 1756 Filed 04/07/23 Page 1 of 2



 1   JEFFREY B. COOPERSMITH (SBN 252819)
     AMY WALSH (Admitted Pro Hac Vice)
 2   STEPHEN A. CAZARES (SBN 201864)
     ORRICK, HERRINGTON & SUTCLIFFE LLP
 3   The Orrick Building
     405 Howard Street
 4   San Francisco, CA 94105-2669
     Telephone:    +1-415-773-5700
 5   Facsimile:    +1-415-773-5759
 6   Email: jcoopersmith@orrick.com; awalsh@orrick.com;
     scazares@orrick.com
 7

 8   Attorneys for Defendant
     RAMESH “SUNNY” BALWANI
 9

10
                                  UNITED STATES DISTRICT COURT
11
                             NORTHERN DISTRICT OF CALIFORNIA
12
                                       SAN JOSE DIVISION
13

14
     UNITED STATES OF AMERICA,                   Case No. 18-CR-00258-EJD
15
                     Plaintiff,                  [PROPOSED] ORDER GRANTING
16                                               DEFENDANT RAMESH “SUNNY”
           v.                                    BALWANI’S ADMINISTRATIVE
17                                               MOTION TO SET NEW REPORTING
     RAMESH “SUNNY” BALWANI,                     DATE
18
                     Defendant.
19                                               Hon. Edward J. Davila
20
21

22

23

24

25

26
27

28
                                                              [PROPOSED] ORDER GRANTING DEFENDANT
                                                            BALWANI’S ADMINISTRATIVE MOTION TO SET
                                                                               NEW REPORTING DATE,
                                                                             CASE NO. 18-CR-00258-EJD
      Case 5:18-cr-00258-EJD Document 1756 Filed 04/07/23 Page 2 of 2



 1                                       [PROPOSED] ORDER

 2

 3          Having considered Mr. Balwani’s Motion to Set New Reporting Date, the Court ORDERS

 4   that Defendant Balwani will be required to report to the Bureau of Prisons to begin serving his

 5   sentence on April 20, 2023, no later than 2:00 p.m.

 6

 7          IT IS SO ORDERED.

 8
              April 7, 2023
      Dated: _____________
 9
                                                           HONORABLE EDWARD J. DAVILA
10                                                         UNITED STATES DISTRICT JUDGE
11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
                                                                      [PROPOSED] ORDER GRANTING DEFENDANT
                                                                    BALWANI’S ADMINISTRATIVE MOTION TO SET
                                                       1                               NEW REPORTING DATE,
                                                                                     CASE NO. 18-CR-00258-EJD
